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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

UNITED STATES OF AMERICA,                                   :
                                                            : Case No. 2:21-cr-129
                    Plaintiff,                              :
                                                            : Chief Judge Algenon L. Marbley
           v.                                               :
                                                            :
ARMANDO RIVERA-SERENO,                                      :
                                                            :
                    Defendant.                              :

                                            OPINION AND ORDER

           This matter comes before the Court on Defendant Armando Rivera-Sereno’s Motion to

Dismiss the Indictment. (ECF No. 22). For the following reasons, the Motion is DENIED.

                                            I.       BACKGROUND

           Mr. Rivera-Sereno is a Mexican citizen with no legal status in the United States. (ECF No.

1 at 2). On September 5, 2003, he was ordered removed from the United States by an Immigration

Judge in Washington D.C. (Id.). Defendant was physically removed from the country four days

later, on September 9, 2003. (Id.). That Order of Removal was reinstated on February 14, 2005,

after Defendant was encountered by Border Patrol in Eagle Pass, TX. (Id). Shortly thereafter, on

February 25, 2005, Defendant was convicted of Illegal Entry into the United States, in the United

States District Court for the Northern District of Texas 1 and sentenced to a term of imprisonment

of 179 days. 2 (Id. at 2–3). After the expiration of his sentence, the September 2003 Order of

Removal was reinstated again, and he was removed from the United States to Mexico on August

19, 2005. (Id.). That Order was reinstated two more times––April 17, 2012 and April 29, 2005.




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    He was also ordered to pay a $10 special assessment. (ECF No. 1 at 3).

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(Id. at 3). Each time Plaintiff was removed from the United States to Mexico after being

encountered by Border Patrol in Texas. (Id.).

         Most recently, on July 15, 2021, a grand jury returned an indictment charging Defendant

with one count of illegal reentry of a removed alien, in violation of 8 U.S.C. § 1326(a). 3 (ECF No.

14). This most recent charge stems from Defendant’s arrest for felonious assault in Columbus,

Ohio on February 2, 2021, after he allegedly shot his roommate in the torso with a shotgun. (ECF

No. 1 at 3). “After a verification of fingerprints, [U.S. Immigration and Customs Enforcement]

determined that [Defendant] had previously been ordered removed from the United States and is

subject to prosecution for illegal re-entry, being found in the United States after being barred from

reentering this country for a period of 20 years.” (Id.). Defendant entered a plea of not guilty to

the charge in the indictment. (Minute Entry, Arraignment, July 23, 2021).

         After the trial date for this matter was twice continued (see ECF Nos. 19, 21), Defendant

moved to dismiss the indictment, arguing 8 U.S.C.§ 1326 is unconstitutional under the Equal

Protection Clause of the Fifth Amendment. (See generally ECF No. 22). Because of this alleged

unconstitutionality, Defendant argues his July 2021 indictment must be dismissed. (Id.). Plaintiff

responded to the Motion on September 30, 2021, maintaining Defendant has not established the

unconstitutionality of the Illegal Reentry statute, and therefore, his Motion should be denied. (See

ECF No. 23). Defendant’s Motion is now ripe for review.




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 The statute reads “any alien who – (1) has been arrested and deported or excluded and deported, and thereafter (2)
enters, attempts to enter, or is at any time found in the United States, unless (A) prior to his reembarkation at a place
outside the United States or his application for admission from foreign contiguous territory, the Attorney General has
expressly consented to such alien’s reapplying for admission; or (B) with respect to an alien previously excluded and
deported, unless such alien shall establish that he was not required to obtain such advance consent under this or any
prior Act, shall be guilty of a felony, and upon conviction thereof, be punished by imprisonment of not more than two
years, or by a fine of not more than $1,000, or both.” Immigration and Nationality Act, Pub. L. No. 82-414, § 276, 66
Stat. 229 (codified at 8 U.S.C. § 1326 (1952)).

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        While his Motion was pending, Defendant moved to continue the trial date. (ECF No. 28).

Defendant represented that “[w]hether the case proceeds to trial is greatly impacted by the Court’s

ultimate determination on the pending motion[,]” because if the motion is denied, he will likely

accept the government’s pending plea offer. (Id. at 2). This Court granted the unopposed motion

to continue, rescheduling the trial in this case for December 13, 2021. (ECF No. 29).

                                        II.      LAW & ANALYSIS

                                        A. The Parties’ Arguments

        Defendant maintains that 8 U.S.C. § 1326(a), the Illegal Reentry statute under which he

was indicted, violates the equal protection guarantee of the Fifth Amendment. (See generally ECF

No. 22). More specifically, he argues that the history surrounding the statutes’ enactment and

enforcement, shows both discriminatory intent as well as a disparate impact on Mexicans and

Latinx persons. (Id.). Moreover, Defendant asserts that “the federal government’s plenary power

over immigration matters does not provide it license to enact racially discriminatory statutes in

violation of the Equal Protection of the Fifth Amendment.” (Id. at 4).

        Defendant spends the bulk of his Motion setting forth the historical background of the

Illegal Reentry statute, focusing almost exclusively on the statute’s predecessor––the Undesirable

Aliens Act of 1929 (the “UAA”). (Id. at 6–17). Defendant highlights a “broad social movement

founded on principles of white supremacy and eugenics 4 [which] gained popular support in the

1920s[,]” and fueled the enactment of the UAA. (Id. at 17). Members of the 1924 Congress,

Defendant maintains, were repeatedly reminded of the “inferiority” of the “Mexican race” during

legislative sessions in the five years leading up to the passage of the statute. (Id.). Defendant argues

that this historical evidence “easily meets–if not exceeds–the evidence requirement in Arlington


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 To this point specifically, Defendant emphasizes the work of “notorious eugenics expert” Dr. Harry H. Laughlin,
who “promoted theories of racial inferiority through multiple reports and testimony to Congress.” (ECF No. 22 at 17).

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Heights.” (Id. (citing Village of Arlington Heights v. Metropolitan Housing Development Corp.,

429 U.S. 252 (1977) (“Determining whether invidious discriminatory purpose was a motivating

factor demands a sensitive inquiry into such circumstantial and direct evidence of intent as may be

available.”))).

        He concedes that the UAA “has been reenacted several times, most notably in the

Immigration and Nationality Act of 1952.” (Id. at 21). These reenactments, says Defendant, “does

not cleanse § 1362 of its racist origin[,]” particularly given Supreme Court precedent establishing

that “a discriminatory purpose that fueled a law’s original enactment remains relevant in

determining its constitutionality.” (Id. at 20–22 (citing Ramos v. Louisiana, 140 S. Ct. 1390 (2020);

Espinoza v. Montana Department of Revenue, 140 S. Ct. 2246 (2020)).

        Finally, Defendant argues that § 1326 disparately impacts Latinx individuals. He cites

several statistics showing the proportion of apprehensions at the U.S. boarder are Mexican and

Latinx persons. (Id. at 24–26). He further highlights several public comments from both former

Attorney General Jeff Sessions and senior policy advisor to President Trump Stephen Miller,

which purport to show “that § 1326 has disparately impacted Mexican and Latinx immigrants and

continues to do so today.” (Id. at 26). Satisfied that he has met his burden under Arlington Heights,

Defendant concludes by stating that the burden now shifts to Plaintiff to show the UAA “would

have passed ‘even had the impermissible purpose not been considered.’” (Id. at 27 (quoting

Arlington Heights, 429 U.S. at 266–68, 270 n. 21)).

        The Government makes three arguments in response. First, it argues that because the Illegal

Reentry statute “is part of the federal government’s immigration regulation framework, an area

over which Congress has vast authority[,] . . . the constitutionality of the statute should be evaluated

under the rational basis standard.” (ECF No. 23 at 2–3). Under this deferential standard, argues



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Plaintiff, § 1326 passes constitutional muster because its goal of deterring “illegal reentry by

previously deported aliens [] bears a rational relationship to the government’s legitimate interest

in enforcing its immigration laws.” (Id. at 3 (“[A] more searching judicial inquiry is not

appropriate.”)).

       Second, Plaintiff asserts that, “to the extent the Court finds it necessary to apply the

Arlington Heights analysis, [] [D]efendant cannot satisfy his burden of showing discriminatory

intent and disparate impact.” (Id.). Specifically, it maintains that Defendant both focuses on the

motives of the wrong Congress––the 1929 Congress, rather than the 1952 Congress––and fails to

account for the fact that the alleged disparate impact is a function not of unlawful discrimination,

but of the proximity of Latin American countries to the [U.S.] and the political, social, and

economic conditions in Mexico and Central America.” (Id.).

       Third, Plaintiff argues that Defendant’s argument is “not novel.” (Id.). It cites numerous

cases from across the country wherein courts denied motions from defendants charged with illegal

reentry . . . challenging the constitutionality of [§] 1326 on equal protection grounds under

Arlington Heights . . .” (Id. at 3–4 (citing (See United States v. Bernal, No. 21-CR-01817, 2021

U.S. Dist. LEXIS 178922 (S.D. Cal. Sept. 20, 2021); United States v. Sanchez-Rodriguez, No. 21-

CR-02351, 2021 U.S. Dist. LEXIS 178896 (S.D. Cal. Sept. 20, 2021); United States v. Orozco-

Orozco, No. 21-CR-02349, 2021 U.S. Dist. LEXIS 178951 (S.D. Cal. Sept. 20, 2021))). Plaintiff

takes specific aim at Defendant’s reliance on United States v. Carrillo-Lopez, 3:20-cr-00026-

MMD-WGC, 2021 WL 3667330 (D. Nev. Aug. 18, 2021), asserting that it is merely an “outlier

that is inconsistent with well-established precedent.” (Id. at 4).




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                                              B. The Court’s Analysis

           Under the Fifth Amendment of the U.S. Constitution, no person shall be “deprived of life,

liberty or property, without due process of law.” U.S. Const. amend. V. “The clause contains an

implicit guarantee of equal protection in federal laws identical to what the Fourteenth Amendment

guarantees in state laws.” United States v. Novondo-Ceballos, No. 21-CR-383 RB, 2021 WL

3570229, * 1 (D.N.M. Aug. 12, 2021) (citing Sessions v. Morales-Santana, 137 S. Ct. 1678, 1686

n. 1 (2017)). There are three standards Courts apply when evaluating the constitutionality of

statutes that, like 8 U.S.C. § 1326, involve the classifications of persons––rational basis,

intermediate scrutiny, or strict scrutiny. Id. at * 2. Furthermore, to find a statute violative of equal

protection under the latter two standards, the aggrieved person must show that the statute is either:

(1) facially discriminatory (see, e.g., Loving v. Virginia, 388 U.S. 1 (1967)); (2) facially neutral

but applied in a discriminatory manner (see, e.g., Yick Wo v. Hopkins, 118 U.S. 356 (1886)); or (3)

facially neutral, but enacted with a discriminatory purpose, which disparately impacts a specific

group (see, e.g., Arlington Heights, 429 U.S. 252 (1977)). Defendant challenges § 1326 under this

third rationale. There is, however, a prefatory analysis which this Court must conduct.

           As detailed above, the parties disagree on what standard of review this Court should use.

Defendant claims § 1326 should be analyzed under strict scrutiny and Arlington Heights because

there is both a discriminatory motive behind the UAA, and because the statute still poses a

disparate impact on Latinx individuals. Notably, Defendant cites only one case where the Arlington

Heights framework was applied in an immigration case, United States v. Carrillo-Lopez. 5 The

Government, meanwhile, maintains that the proper standard of review here is rational basis given

Congress’s plenary power to regulate immigration.



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    This case is currently under appeal in the Ninth Circuit.

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        Upon review of the legal landscape, this Court finds that “application of Arlington Heights

to an immigration law challenge is misplaced and contrary to long standing United States Supreme

Court precedent.” United States v. Samuels-Baldayaquez, No. 4:20 CR 83, 2021 WL 5166488, *

2 (N.D. Ohio Nov. 5, 2021). Congressional authority over immigration is both “broad” and

“undoubted.” Arizona v. United States, 567 U.S. 387, 394 (2012); Velasquez-Rios v. Wilkinson,

988 F.3d 1081, 1089 (9th Cir. 2021)(“[I]t has been universally acknowledged that Congress

possesses sweeping authority over immigration policy as an incident of sovereignty.”) (internal

quotation marks omitted). This authority extends to the admission and expulsion of aliens. Almario

v. Attorney General, 872 F.2d 147, 150 (6th Cir. 1989) (detailing the Supreme Court’s

acknowledgment of “Congress’ unfettered discretion over the admission or expulsion of aliens”). 6

The Sixth Circuit specifically, has repeatedly held that equal protection challenges to immigration-

related statues are subject to rational basis review. See Guzman v. U.S. Dep’t of Homeland Sec.,

679 F.3d 425 (6th Cir. 2012); see also Sad v. I.N.S., 246 F.3d 811 (6th Cir. 2001) (“ In the case of

immigration matters, rational-basis review requires even less because of Congress’s plenary power

over the field.”); Hamama v. I.N.S., 78 F.3d 233 (6th Cir. 1996); Almario, 872 F.2d at 150. Given

this precedent, this Court’s role in reviewing the constitutionality of § 1326 is “limited to the

application of a rational basis review, using ‘minimal scrutiny.’” Samuels-Baldayaquez, 2021 WL

5166488 at * 2 (quoting Sessions v. Morales-Santana, 137 S. Ct. 1678, 1693 (2017)).

        To satisfy rational basis review, there must be “a rational relationship between the disparity

of treatment and some legitimate governmental purpose.” Heller v. Doe, 509 U.S. 312, 320 (1993).



6
 Of some note, as highlighted by the Court in Samuels-Baldayaquez, “[a] plurality of the Supreme Court recently
declined to apply the rational basis standard to an equal protection challenges of executive branch actions involving
immigration.” See 2021 WL 5166488 at * 2 n. 3 (citing Dep’t of Homeland Sec. v. Regents of the Univ. of California,
140 S. Ct. 1891 (2020); Ramos v. Louisiana, 140 S. Ct. 1390 (2020)). That plurality, however, does not supplant the
cases cited above and, importantly, “neither case addressed congressional acts that were subject to the checks and
balances of the legislative branch.” See 2021 WL 5166488 at * 2 n. 3.

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In undertaking such review, this Court is not required to “identify the legislature’s actual rationale

for the distinction; rather, we will uphold the statute if ‘there are plausible reasons for Congress’

action.’” Hamama, 78 F.3d at 237 (quoting U.S. R.R. Ret. Bd. v. Fritz, 449 U.S. 166, 179 (1980)).

        This Court need not go searching for the Congress’ actual rationale for enacting §1326.

The statute’s purpose is clear. It is squarely aimed at regulating immigration and deterring illegal

reentry by individuals who have previously been deported. See 8 U.S.C. § 1326(a). This purpose

has been widely recognized as legitimate. See Fong Yue Ting v. United States, 149 U.S. 698, 711

(1893) (“The right to exclude or to expel all aliens, or any class of aliens, absolutely or upon certain

conditions, in war or in peace, [is] an inherent and unalienable right of every sovereign and

independent nation, essential to its safety, its independence, and its welfare[.]”); see also Samuels-

Baldayaquez, 2021 WL 5166488 at * 2 (citing Wong Wing v. United States, 163 U.S. 228, 235

(1896)) (detailing the well-known “right to establish means, including the establishment of

criminal consequences, to enforce . . . [immigration] restrictions”). Criminalizing illegal reentry

into the United States is rationally related to this legitimate government interest. See Samuels-

Baldayaquez, 2021 WL 5166488 at * 3; see also United States v. Amador-Bonilla, No. CR-21-

187-C, 2021 WL 5349103, * 1–2 (W.D. Okla. Nov. 16, 2021). At bottom, in line with most Courts

across the country, this Court finds that Congress’ right to enforce immigration restrictions

provides a rational basis for the Illegal Reentry statute.

        For all intense and purposes, this is where this Court’s analysis ends. However, for the sake

of thoroughness, this Court briefly details why even if the strict scrutiny of Arlington Heights

applied, Defendant has still failed to show an equal protection violation.

        To begin, as Plaintiff asserts, the primary flaw in Defendant’s argument is his focus on the

1929 UAA. The first step in applying Arlington Heights is to identify what decision maker and



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decision is being reviewed. Arlington Heights, 429 U.S. 252 (1977). Here, Defendant is not being

subject to the UAA, but rather the 1952 reenactment. There is no evidence of discriminatory

motivation in the 1952 enactment of § 1326, or in its subsequent revisions. 7 See Novondo-

Ceballos, 2021 WL 3570229 at * 5 (“[T]he Court finds that subsequent reenactments of § 1326

have cleansed the law of its original taint.”). Defendant’s argument that recent Supreme Court

precedent “confirm[s] that a discriminatory purpose that fueled a law’s original enactment remains

relevant in determining its constitutionality[,]” is misguided. (ECF No. 21 at 20). The cases

Defendant cites in support of this position, Ramos v. Louisiana, 140 S. Ct. 1390 (2020), and

Espinoza v. Montana Department of Revenue, 140 S. Ct. 2246 (2020), do not stand for the

proposition that “the discriminatory motivations of a previous legislature are dispositive of the

outcome of an Arlington Heights analysis of a law enacted by a subsequent legislature.” United

States v. Gilberto Arana Wence, No. 3:20-CR-0027, 2021 WL 2463567 * 5 (D.V.I. June 16, 2021).

Moreover, neither case addresses federal immigration law.

        Finally, even if this Court accepts Defendant’s representations regarding the disparate

impact of § 1326 on Mexican and Latinx individuals, “there is no evidence that this is due to an

invidious discriminatory purpose, rather than some neutral factor such as geographic proximity to

the border.” Samuels-Baldayaquez, 2021 WL 5166488 at * 3; see also United States v. Gutierrez-

Barba, No. CR1901224001PHXDJH, 2021 WL 2138801, * 4 (D. Ariz. May 25, 2021)

(“[N]umerous courts examining similar contentions have held that criminal immigration statutes

do not disproportionately affect Mexican citizens because any disparate impact may be explained

on grounds other than race, such as geographic proximity to the United States.”).



7
  “The Illegal Reentry provision of 8 U.S.C. § 1326 was enacted by the 82nd Congress in 1952, over the veto of then
President Truman. It has been amended multiple times, including by the Immigration and Nationality Act of 1965 and
the Immigration Act of 1990.” Samuels-Baldayaquez, 2021 WL 5166488 at * 1. (citations omitted).

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       Ultimately, regardless of the applicable standard, Defendant has failed to show that the

Illegal Reentry statute under which he was indicted violates the equal protection guarantee of the

Fifth Amendment. The statute’s purpose of deterring illegal reentry by previously deported aliens

bears a rational relationship to the government’s legitimate interest in enforcing its immigration

laws. Furthermore, while the statute’s precursor “undisputedly contained racist, discriminatory

language and arguments directly aimed at reducing or eliminating Mexican immigration . . . , no

such evidence . . . has been shown to have motivated the [] Congress that adopted the current

statute.” Samuels-Baldayaquez, 2021 WL 5166488 at * 1.

                                    III.    CONCLUSION

       For the foregoing reasons, Defendant’s Motion (ECF No. 22) is DENIED.

       IT IS SO ORDERED.



                                             ALGENON L. MARBLEY
                                             CHIEF UNITED STATES DISTRICT JUDGE


DATED: December 1, 2021




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